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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                    HARTFORD DIVISION


    In re                                                      CHAPTER 11

    HERMELL PRODUCTS, INC.,                                    CASE NO 21-20284 (JJT)

                           Debtor.                             RE: ECF No. 422


            ORDER UNDER 11 U.S.C. §§ 105, 363, AND FED. R. BANKR. P. 6004 AND 6006
                     AUTHORIZING SALE OF THE DEBTOR'S ASSETS
                  FREE AND CLEAR OF LIENS, CLAIMS, AND INTERESTS

             This matter having come before the Court on the Motion of Hermell Products , Inc. ,

debtor and debtor-in-possession (the "Debtor") for Orders to Sell Property Free and Clear of

Liens , Claims and Encumbrances and Interests (A) Approving Bidding Procedures with respect

to the proposed sale of the Debtor ' s Remaining Assets to Alex Orthopedic, Inc., or a Qualified

Bidder, (B) Approving the Bid Protections specified in the Letter oflntent with Alex Orthopedic

Inc., and (C) Scheduling a Sale Hearing and Objection Deadline with respect to the Proposed

Sale and (D) Approving the Form and Manner of Notice of the Proposed Sale and Bidding

Procedures (the "Motion") 1 filed by the Debtor; the Court having reviewed the Motion and having

heard the statements of counsel in support of the relief requested therein at a hearing on August

11, 2022 (the "Sale Hearing"); and the Court having determined that the legal and factual bases

set forth in the Motion establish just cause for the relief herein granted;




1
  Unless otherwise defined in this Order, capitalized terms used herein shall have the meanings ascribed to them in
the Motion.
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